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                            UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
     14
                                   SOUTHERN DIVISION
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        HSINGCHING HSU, Individually and ) Case No. 8:15-cv-00865-DOC-SHK
     16 on Behalf of All Others Similarly    )
        Situated,                            ) CLASS ACTION
     17                                      )
                                 Plaintiff,  ) ORDER AWARDING
     18                                      ) ATTORNEYS’ FEES AND
               vs.                           ) EXPENSES AND AN AWARD TO
     19                                      ) LEAD PLAINTIFF PURSUANT TO
        PUMA BIOTECHNOLOGY, INC., et ) 15 U.S.C. §78u-4(a)(4)
     20 al.,                                 )
                                             )
     21                          Defendants. )
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      1        This matter having come before the Court on April 11, 2022, on the motion of
      2 Lead Counsel for an award of attorneys’ fees and expenses, the Court, having
      3 considered all papers filed and proceedings conducted herein, having found the
      4 Settlement of this Litigation to be fair, reasonable and adequate, and otherwise being
      5 fully informed in the premises and good cause appearing therefore;
      6        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:
      7        1.     This Order incorporates by reference the definitions in the Stipulation
      8 and Agreement of Class Action Settlement, dated December 1, 2021 (ECF No. 889)
      9 (the “Stipulation”), and all capitalized terms used, but not defined herein, shall have
     10 the same meanings as set forth in the Stipulation.
     11        2.     This Court has jurisdiction over the subject matter of this application and
     12 all matters relating thereto, including all Members of the Class who have not timely
     13 and validly requested exclusion.
     14        3.     Notice of Lead Counsel’s request for attorneys’ fees and expenses was
     15 given to the representatives of all validated claimants who could be located with
     16 reasonable effort. The form and method of notifying the Class of the request for
     17 attorneys’ fees and expenses met the requirements of Rule 23 of the Federal Rules of
     18 Civil Procedure and 15 U.S.C. §78u-4(a)(7), the Securities Exchange Act of 1934, as
     19 amended by the Private Securities Litigation Reform Act of 1995, due process, and
     20 any other applicable law, constituted the best notice practicable under the
     21 circumstances, and constituted due and sufficient notice to all persons and entities
     22 entitled thereto.
     23        4.     The Court hereby awards Lead Counsel attorneys’ fees of 25% of the
     24 Settlement Amount, plus expenses in the amount of $2,890,129.74, together with the
     25 interest earned on both amounts for the same time period and at the same rate as that
     26 earned on the Settlement Fund until paid. The Court finds that the amount of fees
     27 awarded is fair, reasonable, and appropriate under the “percentage-of-recovery”
     28 method.

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      1         5.    The awarded attorneys’ fees and expenses and interest earned thereon,
      2 shall be paid to Lead Counsel at the time of the Effective Date.
      3         6.    In making this award of fees and expenses to Lead Counsel, the Court
      4 has considered and found that:
      5               (a)    the Settlement has created a fund of $54,248,374 in cash, which
      6 represents 100% of the total claimed damages from the validated claimants, plus
      7 prejudgment interest, and thereby represents the maximum allowable damages
      8 pursuant to the jury’s per-share damages award;
      9               (b)    The Notice of Class Action Settlement informed validated
     10 claimants that Lead Counsel would request a fee award of 25% of the Settlement
     11 Amount, as well as the payment of litigation expenses not to exceed $3,100,000, and
     12 no objections to the fees or expenses were filed by Class Members;
     13               (c)    Lead Counsel have pursued the Litigation and achieved the
     14 Settlement with skill, perseverance, and diligent advocacy;
     15               (d)    Lead Counsel have expended substantial time and effort pursuing
     16 the Litigation on behalf of the Class;
     17               (e)    Lead Counsel pursued the Litigation on a contingent basis, having
     18 received no compensation during the Litigation, and any fee amount has been
     19 contingent on the result achieved;
     20               (f)    the Litigation involves complex factual and legal issues and, in the
     21 absence of settlement, would involve lengthy appellate proceedings whose resolution
     22 would be uncertain;
     23               (g)    public policy concerns favor the award of reasonable attorneys’
     24 fees and expenses in securities class action litigation; and
     25               (h)    the attorneys’ fees and expenses awarded are fair and reasonable
     26 and consistent with awards in similar cases within the Ninth Circuit.
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      1         7.    Any appeal or any challenge affecting this Court’s approval regarding the
      2 Lead Counsel’s motion for attorneys’ fees and expenses shall in no way disturb or
      3 affect the finality of the Judgment entered with respect to the Settlement.
      4         8.    Pursuant to 15 U.S.C. §78u-4(a)(4), the Court awards $64,505 to Lead
      5 Plaintiff Norfolk County Council, as Administering Authority of the Norfolk Pension
      6 Fund, for the time it spent directly related to its representation of the Class.
      7         9.    In the event that the Settlement is terminated or does not become Final or
      8 the Effective Date does not occur in accordance with the terms of the Stipulation, this
      9 Order shall be rendered null and void to the extent provided in the Stipulation and
     10 shall be vacated in accordance with the Stipulation.
     11         IT IS SO ORDERED.
     12
                 August 3, 2022
     13 DATED: ________________                  ____________________________________
                                                 THE HONORABLE DAVID O. CARTER
     14
                                                 UNITED STATES DISTRICT JUDGE
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